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                  UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                               Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                        Defendant .

          MOTION TO DISMISS COUNTS FIVE, SEVEN, AND EIGHT

       The Sixth Amendment recognizes my right to be informed about the nature and cause of

the accusations against me, and to be able to confront my accusers.

       In ECF No. 227, I motioned for a Bill of Particulars. The Court partially granted that

motion in Order No. 251, finding that the specifics of three of my charges were inadequate. This

being so, the Court ordered the government to provide particulars for Counts Five, Seven, and

Eight. This order was made twelve days ago, but the government has still not provided those

particulars. Today is the deadline to file pre-trial motions, and the clock is nearing midnight.

       Since at this late hour I still have not been informed about the nature of these accusations

against me, and since I am now deprived of the opportunity to confront these accusations with

pre-trial motions, I move that these three charges be dismissed. They do not meet the

requirements set forth in the Sixth Amendment. Furthermore, the government has just tonight

moved for Counts Five and Seven to be dismissed (ECF No. 273). I support the government’s

proposed dismissal with my only criticism being that they should have dropped more!
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  Therefore, I move that these three counts be dismissed with prejudice!

  Respectfully submitted to the Court,

                                                 By: William Pope

                                                     /s/


                                                 William Pope
                                                 Pro Se Officer of the Court
                                                 Topeka, Kansas




                                    Certificate of Service
I certify a copy of this was filed electronically for all parties of record on May 13, 2024.
                                              /s/
                              William Alexander Pope, Pro Se
